                                   Case 1:14-cv-03432-SCJ Document 620-24 Filed 12/19/22 Page 1 of 16




                                                            Mazda J48 (Familia)
                                                             TooIgate-O Agenda
                                                                                        Augustil 0/2001



                                             Purpose of Receiving an Order for Mazda J48 Program
                                     2,      Customer Market and Volume
                                     3,      Development Schedule
                                    4,       Customer Requirement
                                     5,      Project Resource Requirement Proposal
                                     6,      PACT(COST SUMMARY)
                                     7,      Mazda J48 Team List
                                     8,      Environmental Aspects

                                     9,      Open Issues




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                                                                                             PLAINTIFFS g
                                                                                               EXHIBIT  f5'

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                                    Case 1:14-cv-03432-SCJ Document 620-24 Filed 12/19/22 Page 2 of 16




                                        Purpose of Receiving an Order for Occupant Restraint

                                                         System in Mazda J48 Program

                                       Background:
                                       • Ford/Mazda made a decision to develop the J48 program using C car platform.
                                       Autoliv was awarded a full system supplier(FSS) for occupant restraint
                                       equipment(TRW was also awarded some programs in C car platform).



                                       Mazda J48 program is developed at Mazda Japan and we are to participate in
                                       Mazda's development as the FSS in Japan. Taking this opportunity, we are
                                       targeting to obtain a business of the J48 occupant restraint system.

                                       Target:
                                       • To raise the management efficiency of a company by receiving an order of the
                                       large-sized business over 200,000 vehicle unites yearly output, which is yearly
                                       turnover of about 1,600 million yen.
                                       • ANG is a Front Seat Belt supplier for current Mazda J39 program.
                                       Maintaining the current Front Seat Belt business as well as extending the
                                       business, we will improve our customer support by production and development
                                       locally.



                                       As a reborn AJS, we will resume dealing with Mazda and become the core that
                                       promotes Occupant Restraints system in Autoliv K.K. for Mazda.             It is
                                       indispensable that we should receive an award of the occupant restraints system
                                       as the FSS in Japan..




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             Case 1:14-cv-03432-SCJ Document 620-24 Filed 12/19/22 Page 3 of 16


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                                    Case 1:14-cv-03432-SCJ Document 620-24 Filed 12/19/22 Page 4 of 16




             Customer Market & Volume
             Vehicle    Seat   Destination                                                                                         Tote
              Type
                                  JPN                      USA                       EC                    0TH
                                 Current                  Curre                     Curre                 Curre                  Curre
                                               J48E                     J48E                   J48E                  J48E                      J48E
                                  J39A                     J39A                      J39A                  J39A                   J39A

              Seda     Front      ANG          AJS        ANG       AJS             ANG        AJS        ANG        AJS          ANG          AJS
                                             900Car/M             8,300Cer/14               T .470Cer/M           4,700Cor/M    14,000Car/hd 13.3700w/ M

                        Rear       TK          AJS         TK       AJS              TK       AJS          TK        AJS           TK          AJS
                                             900 Car/M            600CariM                  I .470Car/M           4,700Cer/M                13,3700ariM

              We
                       Front      ANG          AJS        ANG       AJS             ANG       ANG         ANG       AJS           ANG          AJS
                                             1,670Car/M           1.140Car/M                4.430CariM            1,190Carr14   I 0,000Cer/M 4,000carAt

                        Rear       TK          AJS         TK       AJS              TK       ANG          TK       AJS            1K          AJS
                                             1,670Car/M           1.140Cer/M                4.430Car/M            1,190CariM                 4000Cer/1.1
                                                                                _

                                                                                            ANG: J48G




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                                    Case 1:14-cv-03432-SCJ Document 620-24 Filed 12/19/22 Page 6 of 16




                                           Custom6 requirement

                                           Current Drawing (Estimate)

                                            [FR-Inn]
                                                  PBP Gen. 2.1 + Hall Effect SW
                                            [FR-Out]
                                                  OR: R27LLD
                                                  PA: R27LLD + ALR
                                            [HA]
                                                  Nissan Tsumami Type + Deformable Rail (For FMVSS 201)
                                            [RS-Inn]
                                                  K12-Buckle (Webb)
                                            [RS-Out]
                                                  R27 + ALR (Parcel Shelf Mount)
                                            [RC-Inn]
                                                  K12-Buckle (Webb)
                                            [RC-Out]
                                                  R27 + ALR (SED : Parcel Shelf Mount, 5HB : D-Pillar Mount)
                                                  Lap Outer: Separation Buckle (#13Z-27)




                                            MES PA 57060C : Seat Belts
                                            MES PW P1001D : Interior / Exterior Plastics Parts
                                            MES CF 050C : Flammability of Interior Parts
                                            MES CF 250C : Material Marking on Plastic and Rubber Parts
                                            MES CG 310B : Plating
                                            ESG-J48E57060 : Engineering Specification for Seat Belt




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                                    Case 1:14-cv-03432-SCJ Document 620-24 Filed 12/19/22 Page 7 of 16




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                                                    Case 1:14-cv-03432-SCJ Document 620-24 Filed 12/19/22 Page 9 of 16



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                                    Case 1:14-cv-03432-SCJ Document 620-24 Filed 12/19/22 Page 10 of 16



                                  Detailed Statement of the Development Costs for the Mazda J48 Proposal (the breakdown for entering PACT data)
                                                                                                                                          7/25/2001   Kamei
                                                                                               Breakdown                                                      Total
Manpower       Development personnel expenses        System design supervision (Kamei): 0.9 persons * 24 months                                               ¥ 6.200,000
                                                     (2 persons * 4 months + 1 person * 8 months + 0.5 persons * 12 months)
                                                     Drawings group personnel: 0.05 * 2 years                                                                   ¥900,000
                                                     CAD operators: 1 persons * 12 months
                                                     (¥4500/hr * 19h + ¥6000/hr * 200h)                                                                        ¥9,840,000
                                                     Subtotal                                                                                                 ¥26,940,000   A

Sled Testing   Sled test expenses                     Pre-shipping check: ¥30,000/shot * 2 shots * 4 times * 6 part numbers                                    ¥1,440,000
               (No. 2)                                Part check test: ¥30,000/shot * 2 shots * 2 times * 6 part numbers                                       ¥1,080,000
               Sled test expenses                     New waveform                                                                                               ¥120,000
               (No. 3)                                White body reinforcement, jig creation expense                                                             ¥500,000
                                                      Performance check: ¥40,000/shot * 2 shots * 6 part numbers                                               ¥4,800,000
                                                      Subtotal                                                                                                 ¥7,940,000

Barrie Te      Barrier test expenses                  Not scheduled                                                                                                   ¥0
                                                      Subtotal                                                                                                        ¥0

Lab Testing    Experiment expenses                    Regulations test: 0.3 persons * 1.5 years
                                                                                                                                                              ¥4,050,000
                                                      Customer spec test: 0.3 persons * 1.5 years                                                             ¥4,050,000
                                                      HA stage evaluation: 3 persons * 3 months                                                                 ¥405,000
                                                      PBP assessment test: 3 persons * 3 months                                                                 ¥405,000
                                                      Subtotal                                                                                                ¥8,910.000

Quantitative   Materials analysis expenses            Not scheduled                                                                                                   ¥0
Analysis
                                                      Subtotal                                                                                                        ¥0



                                                                                                                                                  AUTOLIV1 098 [1 of 2]
                                          Case 1:14-cv-03432-SCJ Document 620-24 Filed 12/19/22 Page 11 of 16



Prototype Tooling                 Trial manufacturing tooling    HA rail: V2,000,000 * 1 part number
                                  expenses                       Garnish: V1,000,000 * 1 part number
                                                                 Cover: V1,000,000 * 1 part number                                                                          V4,000,000
                                                                 Anchor plate: ¥300.000 * 3 part numbers (RS outer & RC 2 sheets overlapped)                                 ¥900,000
                                                                 Bracket: ¥800,000 * 5 part numbers (RR tray placement)
                                                                 ¥800,000 * 1 part numbers (RC pillar placement)                                                             ¥4,800,000
                                                                 Subtotal                                                                                                    ¥9,700,000   F

Sample/Test pieces                Sample expenses, test parts    Samples for investigation: ¥15,000 * 2 part numbers * 3 sets
                                  expenses                                 V10,000 * 4 part numbers * 3 sets                                                                  ¥210,000
                                                                 Regulations test: ¥15,000 * 2 part numbers * 5 sets
                                                                           ¥10,000 * 4 part numbers * 5 sets                                                                  ¥350,000
                                                                 Customer spec test: ¥15,000 * 2 part numbers * 5 sets
                                                                           V10,000 * 4 part numbers * 5 sets                                                                 ¥350,000
                                                                 HA stage evaluation                                                                                         ¥300,000
                                                                 PBP assessment                                                                                              ¥200,000
                                                                 Subtotal                                                                                                   V1,410,000    G

Other Co                          Other                          Sample/CAD data delivery expenses:
                                                                 ¥2000 * 12 times                                                                                              ¥24,000
                                                                 New GNC terminal expenses: 1 unit * 12 months
                                                                 (EWS: ¥105,000/month * 12 months)                                                                          ¥1.260,000
                                                                 Mazda business trip expenses: ¥40,000 * 80 times (commuting expenses)
                                                                          ¥9000 * 150 nights (lodging expenses)
                                                                          ¥2400 * 200 days (per diem)                                                                       ¥5,030,000
                                                                 Communication expenses (mobile telephone): ¥5000/month * 12 months                                            ¥60,000
                                                                 Subtotal                                                                                                   V6,374,000    H

Income (negative)                Income (minus the               Samples for evaluating the passenger restraint performance
                                 appropriated amount)                                                                                                                       42,510,000
                                                                 Subtotal                                                                                                   V-2,510,000

                                                                 Total (A—I)                                                                                               V58,764,000

Note:      (1) Personnel expenses are calculated on abase of ¥5000/h * persons * 1800h/year = ¥9,000,000/year * persons.
           (2) Mass production preparation operations for production/quality assurance separately requires 0.3 persons * 2 years = V5,400,000 approximate.
           (3) 6 part numbers for belts are shown as Dr/Pa/RS/RC * 3 types.
           (4) No. 3 sled expenses are ¥200,000-500,000/shot, but this changed by execution details so ¥500,000 for midterm + alpha.
           (5) This estimate is a trial calculation only for belts of Japan design/Japan delivery, and so the specification to be delivered from Europe AUTOLIV...



                                                                                                                                                                     AUTOLIV1098 [2 of 2]
                                               Case 1:14-cv-03432-SCJ Document 620-24 Filed 12/19/22 Page 12 of 16




                  F6.1 COST SUMMARY
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                                   Case 1:14-cv-03432-SCJ Document 620-24 Filed 12/19/22 Page 13 of 16




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                                                                                                            Masaru Kobayashi         Ea= isaPl.rd          AJS
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                                                Team membs rs + Managers signatures                             Signatures      '              Date
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Open Issues

1. About seat belt specification
       a) The seat belt specification is not yet Fixed. (Depends on passenger restraint performance.)
       -› When changed to AGB101, profit went into the negative.
       b) The control model for sales price is SED.
       --> Reliably reflect the increase portion, due to 5HB specification difference, in the sales price.
2. About production site/equipment
       a) In order to assure profit, use of Japan manufacturing for PBP Gen 2.1 is essential.
       -4 Need to introduce PBP production line.
       b) Details are unclear on PBP Gen 2.1, R27LLD production equipment.
       --> Need to investigate production line in Germany and Australia,
               and discern by expenses, production capability, personnel structure, etc.
3. About part unit cost
       a) Calculate based on purchasing price data (direct level) at ANG.
4. About mass production orders
       a) Mass production orders are not yet settled. (Designated by development supervising supplier.)
       b) Even if development is stopped, we are notified that it will not apply to the entire guarantee request.
       c) Need to cut cost increase amounts for specification changes hereafter.



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